                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:19-CV-707-RJC-DCK

 SHAKINA SMITH,                                            )
                                                           )
                 Plaintiff,                                )
                                                           )
     v.                                                    )    ORDER
                                                           )
 JAX, LLC,                                                 )
                                                           )
                 Defendant.                                )
                                                           )

          THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion Requesting A

Stay Of Litigation To Permit The Parties To Participate In Non-Binding Mediation” (Document

No. 37) filed December 28, 2020. This motion has been referred to the undersigned Magistrate

Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having carefully

considered the motion and the record, the undersigned will grant the motion, with modification.

          IT IS, THEREFORE, ORDERED that the parties’ “Joint Motion Requesting A Stay Of

Litigation To Permit The Parties To Participate In Non-Binding Mediation” (Document No. 37) is

GRANTED with modification. This case is STAYED until March 10, 2021.

          IT IS FURTHER ORDERED that the parties shall engage in settlement discussions in

good faith, including participating in a mediation, and shall file a report on the results of mediation

on or before March 10, 2021.

                               Signed: December 29, 2020
